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                                       #:1659


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10

11   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
12

13                            UNITED STATES DISTRICT COURT

14                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

15   UNITED STATES OF AMERICA,               Case No. 2:24ícrí00570íWLH

16             Plaintiff,                    STIPULATION REGARDING REQUEST FOR
                                             (1) CONTINUANCE OF TRIAL DATE AND
17                   v.                      (2) FINDINGS OF EXCLUDABLE TIME
                                             PERIODS PURSUANT TO SPEEDY TRIAL
18   CLAIRE PATRICIA HAVILAND, et            ACT
     al.,
19   CLAIRE PATRICIA HAVILAND (1),           CURRENT TRIAL DATES:       11/25/2024
     BRIAN GLENN EKELUND (2),                and 12/2/2024
20   STEVEN MICHAEL SILVERBERG (5),          PROPOSED TRIAL DATE:       2/24/2026
     CORY DANIEL SIMS (7),
21   ROBERT M. SLAYTON (11),                 CURRENT PRETRIAL CONFERENCE DATES:
     MICHAEL VITANZA (12),                   11/15/2024 and 11/22/2024
22   PAUL JOHN PICHIE (13),                  PROPOSED PRETRIAL CONFERENCE DATE:
     GUY MANNING WILLS (15),                 2/13/2026
23   CHARISSA MARIE CHOTARD (16),
     JULIE ANN ROMERO (17),
24   CYNTHIA VAN VLYMEN (18),
     PAGET GARY EKELUND (21),
25   SCOTT JOSHUA VENNUM (22),
     MICHAEL ANTHONY CHATTERTON (23),
26   CHRISTOPHER CRAIG (25),
     GABRIELA IBARRA (26),
27   KEVIN D. FRANCIS (28),
     RICHARD KEVIN RILEY (29),
28   ADAM L. RODNEY (32),
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                                         #:1660


 1   CHRISTOPHER PATRICK POLLAY
        (34),
 2   TARA JANE BECKWITH (36),
     ALBERT ETHAN EKLUND (42),
 3   CIARA JACOBS (44),
     ROBERT ANTHONY BAKER (46),
 4   JAMES ALLEN THAEMERT (51),
     DAVID MITCHELL SHAPIRO (52),
 5   SEAN CRAIG GLUCKMAN (53),
     CHRISTOPHER MARK PREVEDELLO
 6   (56),
     HENISI UTSLER (59),
 7   REBEKA ANNA BENEDICT (60),
     TANYA NURRIA RESNICK (64), and
 8   CODY SEAN CHAN (67),

 9
                  Defendants.
10

11

12

13           Plaintiff United States of America, by and through its counsel
14   of record, the United States Attorney for the Central District of
15   California and Assistant United States Attorneys Reema M. El-Amamy
16   and Jeremiah Levine, and defendants CLAIRE PATRICIA HAVILAND (1),
17   BRIAN GLENN EKELUND (2), CORY DANIEL SIMS (7), ROBERT M. SLAYTON
18   (11), MICHAEL VITANZA (12), PAUL JOHN PICHIE (13), GUY MANNING WILLS
19   (15), CHARISSA MARIE CHOTARD (16), CYNTHIA VAN VLYMEN (18), PAGET
20   GARY EKELUND (21), MICHAEL ANTHONY CHATTERTON (23), CHRISTOPHER CRAIG
21   (25), GABRIELA IBARRA (26), KEVIN D. FRANCIS (28), ADAM L. RODNEY
22   (32), CHRISTOPHER PATRICK POLLAY (34), ALBERT ETHAN EKLUND (42),
23   CIARA JACOBS (44), DAVID MITCHELL SHAPIRO (52), SEAN CRAIG GLUCKMAN
24   (53), HENISI UTSLER (59), and CODY SEAN CHAN (67) (“defendant”), both
25   individually and by and through their counsel of record, hereby
26   stipulate as follows:
27           1.   The Indictment in this case was made public on October 2,
28   2024.    Defendants CLAIRE PATRICIA HAVILAND (1), BRIAN GLENN EKELUND
                                            2
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 1   (2), STEVEN MICHAEL SILVERBERG (5), CORY DANIEL SIMS (7), ROBERT M.

 2   SLAYTON (11), MICHAEL VITANZA (12), PAUL JOHN PICHIE (13), GUY

 3   MANNING WILLS (15), CHARISSA MARIE CHOTARD (16), JULIE ANN ROMERO

 4   (17), CYNTHIA VAN VLYMEN (18), PAGET GARY EKELUND (21), SCOTT JOSHUA

 5   VENNUM (22), MICHAEL ANTHONY CHATTERTON (23), CHRISTOPHER CRAIG (25),

 6   GABRIELA IBARRA (26), KEVIN D. FRANCIS (28), RICHARD KEVIN RILEY

 7   (29), ADAM L. RODNEY (32), CHRISTOPHER PATRICK POLLAY (34), ALBERT

 8   ETHAN EKLUND (42), CIARA JACOBS (44), ROBERT ANTHONY BAKER (46),

 9   JAMES ALLEN THAEMERT (51), DAVID MITCHELL SHAPIRO (52), SEAN CRAIG

10   GLUCKMAN (53), CHRISTOPHER MARK PREVEDELLO (56), HENISI UTSLER (59),

11   REBEKA ANNA BENEDICT (60), TANYA NURRIA RESNICK (64), and CODY SEAN

12   CHAN (67) first appeared before a judicial officer of the court in

13   which the charges in this case were pending on October 2, 2024.               The

14   Speedy Trial Act, 18 U.S.C. § 3161, originally required that the

15   trial commence on or before December 11, 2024.

16           2.   Defendant TARA JANE BECKWITH (36) first appeared before a

17   judicial officer of the court in which the charges in this case were

18   pending on October 11, 2024.      The Speedy Trial Act, 18 U.S.C. § 3161,

19   originally required that the trial commence on or before December 20,

20   2024.

21           3.   Additional defendants in this matter made appearances the

22   week of October 21, 2024 or later, are presently in state custody,

23   and have yet to make their initial appearance, or are presently

24   fugitives.

25           4.   On October 2, 2024, the Court set a trial date of November

26   25, 2024, and a Pretrial Conference date of November 15, 2024 for

27   CLAIRE PATRICIA HAVILAND (1), BRIAN GLENN EKELUND (2), STEVEN MICHAEL

28   SILVERBERG (5), CORY DANIEL SIMS (7), ROBERT M. SLAYTON (11), MICHAEL

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 1   VITANZA (12), PAUL JOHN PICHIE (13), GUY MANNING WILLS (15), CHARISSA

 2   MARIE CHOTARD (16), JULIE ANN ROMERO (17), CYNTHIA VAN VLYMEN (18),

 3   PAGET GARY EKELUND (21), SCOTT JOSHUA VENNUM (22), MICHAEL ANTHONY

 4   CHATTERTON (23), CHRISTOPHER CRAIG (25), GABRIELA IBARRA (26), KEVIN

 5   D. FRANCIS (28), RICHARD KEVIN RILEY (29), ADAM L. RODNEY (32),

 6   CHRISTOPHER PATRICK POLLAY (34), ALBERT ETHAN EKLUND (42), CIARA

 7   JACOBS (44), ROBERT ANTHONY BAKER (46), JAMES ALLEN THAEMERT (51),

 8   DAVID MITCHELL SHAPIRO (52), SEAN CRAIG GLUCKMAN (53), CHRISTOPHER

 9   MARK PREVEDELLO (56), HENISI UTSLER (59), REBEKA ANNA BENEDICT (60),

10   TANYA NURRIA RESNICK (64), and CODY SEAN CHAN (67).

11        5.    On October 11, 2024, the Court set a trial date of December

12   2, 2024, and a Pretrial Conference date of November 22, 2024 for

13   defendant TARA JANE BECKWITH (36).

14        6.    Defendants CLAIRE PATRICIA HAVILAND (1), BRIAN GLENN

15   EKELUND (2), CORY DANIEL SIMS (7), ROBERT M. SLAYTON (11), MICHAEL

16   VITANZA (12), PAUL JOHN PICHIE (13), GUY MANNING WILLS (15), CHARISSA

17   MARIE CHOTARD (16), JULIE ANN ROMERO (17), CYNTHIA VAN VLYMEN (18),

18   PAGET GARY EKELUND (21), SCOTT JOSHUA VENNUM (22), MICHAEL ANTHONY

19   CHATTERTON (23), GABRIELA IBARRA (26), KEVIN D. FRANCIS (28), RICHARD

20   KEVIN RILEY (29), ADAM L. RODNEY (32), TARA JANE BECKWITH (36),

21   ALBERT ETHAN EKLUND (42), CIARA JACOBS (44), ROBERT ANTHONY BAKER

22   (46), JAMES ALLEN THAEMERT (51), SEAN CRAIG GLUCKMAN (53),

23   CHRISTOPHER MARK PREVEDELLO (56), HENISI UTSLER (59), TANYA NURRIA

24   RESNICK (64), and CODY SEAN CHAN (67) are presently in custody.

25   Defendants STEVEN MICHAEL SILVERBERG (5), DAVID MITCHELL SHAPIRO

26   (52), CHRISTOPHER CRAIG (25), CHRISTOPHER PATRICK POLLAY (34), and

27   REBEKA ANNA BENEDICT (60) are released on bond pending trial.            The

28   parties estimate that the trial in this matter will last

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 1   approximately four to five weeks.        All defendants are joined for

 2   trial and a severance has not been granted.

 3        7.    By this stipulation, defendants CLAIRE PATRICIA HAVILAND

 4   (1), BRIAN GLENN EKELUND (2), CORY DANIEL SIMS (7), ROBERT M. SLAYTON

 5   (11), MICHAEL VITANZA (12), PAUL JOHN PICHIE (13), GUY MANNING WILLS

 6   (15), CHARISSA MARIE CHOTARD (16), CYNTHIA VAN VLYMEN (18), PAGET

 7   GARY EKELUND (21), MICHAEL ANTHONY CHATTERTON (23), CHRISTOPHER CRAIG

 8   (25), GABRIELA IBARRA (26), KEVIN D. FRANCIS (28), ADAM L. RODNEY

 9   (32), CHRISTOPHER PATRICK POLLAY (34), ALBERT ETHAN EKLUND (42),

10   CIARA JACOBS (44), DAVID MITCHELL SHAPIRO (52), SEAN CRAIG GLUCKMAN

11   (53), HENISI UTSLER (59), and CODY SEAN CHAN (67) move to continue

12   the trial date to February 24, 2026, and a Pretrial Conference date

13   of February 13, 2026.     This is the first request for a continuance.

14        8.    Defendants request the continuance based upon the following

15   facts, which the parties believe demonstrate good cause to support

16   the appropriate findings under the Speedy Trial Act:

17              a.   Defendants are charged with violations of 18 U.S.C.

18   § 1962(d): Racketeer Influenced and Corrupt Organizations Conspiracy;

19   21 U.S.C. § 846: Conspiracy to Distribute and to Possess with Intent

20   to Distribute Controlled Substances; 18 U.S.C. § 1349: Conspiracy To

21   Commit Bank Fraud; 18 U.S.C. § 1344: Bank Fraud; 18 U.S.C. § 1028A:

22   Aggravated Identity Theft; 21 U.S.C. §§ 841(a)(1), (b)(1)(A),

23   (b)(1)(B), (b)(1)(C), (b)(2): Possession with Intent to Distribute

24   and Distribution of Controlled Substances; 18 U.S.C. § 922(g)(1):

25   Felon in Possession of a Firearm and Ammunition; 18 U.S.C.

26   § 924(c)(1)(A): Possess a Firearm in Furtherance of a Drug

27   Trafficking Crime; 18 U.S.C. § 1029(a)(3): Possession of Fifteen or

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 1   More Unauthorized Access Devices; 18 U.S.C. § 2(a): Aiding and

 2   Abetting.

 3               b.   The underlying investigation of defendants and their

 4   co-conspirators began in 2020 and continued throughout 2024.

 5               c.   The government has begun to produce discovery to the

 6   defense, including post-arrest statements, recorded jail telephone

 7   calls, thousands of pages of Facebook communications, criminal

 8   history reports, laboratory reports, video and audio recordings

 9   related to various overt acts in the indictment, and photographs of

10   physical evidence.

11               d.   The government obtained dozens of Facebook search

12   warrants during its underlying investigation and seized the contents

13   of numerous Facebook accounts belonging to defendants and their co-

14   conspirators.    The written contents of seized Facebook communications

15   and pictures is easily in the hundred of thousands of pages if not in

16   the millions.

17               e.   Additionally, the discovery in this matter includes

18   discovery related to a lengthy federal wiretap investigation that

19   involved the interception of twenty-three separate telephones between

20   July 2023 and May 2024.     The government intercepted thousands of wire

21   and electronic communications, which it is in the process of making

22   available to the defense.      There are six separate lengthy wiretap

23   applications underlying the government’s requests for interceptions.

24   Additionally, there are thousands of line sheets and hundreds of

25   draft transcripts of intercepted communications that the government

26   intends to present at any trial.

27               f.   The government seized dozens of digital devices

28   belonging to defendants and co-conspirators on October 2, 2024, and

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 1   is working with law enforcement partners to make the contents of

 2   those digital devices available to the defense as soon as possible.

 3                g.   Finally, discovery in this case includes discovery

 4   that needs to be produced pursuant to a Protective Order to prevent

 5   the spread of personal identifying information and financial

 6   information, as well as to protect the safety of potential witnesses.

 7   The parties recently obtained a Protective Order from the Court, and

 8   the government began producing thousands of pages of protected

 9   discovery.

10                h.   In total, all discovery that the government is in the

11   process of making available to all defendants, included “Protected

12   Discovery,” will constitute approximately one terabyte of evidence.

13                i.   Due to the nature of the prosecution, the number of
14   defendants, including the charges in the indictment and the
15   voluminous discovery that is in the process of being produced to
16   defendants, this case is so unusual and so complex that it is
17   unreasonable to expect adequate preparation for pretrial proceedings
18   or for the trial itself within the Speedy Trial Act time limits.
19                j.   In light of the foregoing, counsel for defendants also
20   represent that additional time is necessary to confer with
21   defendants, conduct and complete an independent investigation of the
22   case, conduct and complete additional legal research including for
23   potential pre-trial motions, review the discovery and potential
24   evidence in the case, and prepare for trial in the event that a
25   pretrial resolution does not occur.       Defense counsel represent that
26   failure to grant the continuance would deny them reasonable time
27   necessary for effective preparation, taking into account the exercise
28   of due diligence.
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 1                k.   Defendants believe that failure to grant the

 2   continuance will deny them continuity of counsel and adequate

 3   representation.

 4                l.   The government does not object to the continuance.

 5                m.   The requested continuance is not based on congestion

 6   of the Court’s calendar, lack of diligent preparation on the part of

 7   the attorney for the government or the defense, or failure on the

 8   part of the attorney for the Government to obtain available

 9   witnesses.

10        9.      For purposes of computing the date under the Speedy Trial

11   Act by which defendant’s trial must commence, the parties agree that

12   the time period of November 25, 2024 to February 24, 2026, inclusive,

13   should be excluded pursuant to 18 U.S.C. §§ 3161(h)(7)(A),

14   (h)(7)(B)(i), (h)(7)(B)(ii), and (h)(7)(B)(iv) because the delay

15   results from a continuance granted by the Court at defendant’s

16   request, without government objection, on the basis of the Court’s

17   finding that: (i) the ends of justice served by the continuance

18   outweigh the best interest of the public and defendant in a speedy

19   trial; (ii) failure to grant the continuance would be likely to make

20   a continuation of the proceeding impossible, or result in a

21   miscarriage of justice; (iii) the case is so unusual and so complex,

22   due to the nature of the prosecution and the number of defendants,

23   that it is unreasonable to expect preparation for pre-trial

24   proceedings or for the trial itself within the time limits

25   established by the Speedy Trial Act; and (iv) failure to grant the

26   continuance would unreasonably deny defendant continuity of counsel

27   and would deny defense counsel the reasonable time necessary for

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 1   effective preparation, taking into account the exercise of due

 2   diligence.

 3        10.     Defendants JULIE ANN ROMERO (17), TARA JANE BECKWITH (36),

 4   and JAMES ALLEN THAEMERT (51) object to continuing the trial in this

 5   matter to February 24, 2026 and instead request an earlier trial date

 6   of September 16, 2025.     Counsel for the government has attempted to

 7   reach counsel for REBEKA ANNA BENEDICT (60) but was unable to

 8   ascertain REBEKA ANNA BENEDICT (60)’s position on a continuance.

 9   Counsel for SCOTT JOSHUA VENNUM (20) has recently informed the

10   government that he believes that he has a conflict representing his

11   client in this matter.     Counsel for TANYA NURRIA RESNICK (64) has

12   informed the government that he and his client do not object to the

13   February 24, 2026 trial date, but that he was unable to obtain his

14   client’s signature due to unexpected lock downs at the custodial

15   facility and the recent illness of his client.         Counsel for STEVEN

16   MICHAEL SILVERBERG (5) has also informed the government that his

17   client does not object to the February 24, 2026 trial date.           Counsel

18   for RICHARD KEVIN RILEY (29) has informed the government that he and

19   his client agree to a continuance of the trial date but has not yet

20   had the opportunity to meet and confer with his client regarding the

21   February 24, 2026 trial date.      Defendants ROBERT ANTHONY BAKER (46)

22   and CHRISTOPHER MARK PREVEDELLO (56) object to continuing the trial

23   in this matter.    Nonetheless, the stipulating parties agree that,

24   pursuant to 18 U.S.C. § 3161(h)(6), the time period of November 25,

25   2024 to February 24, 2026 constitutes a reasonable period of delay

26   for defendants STEVEN MICHAEL SILVERBERG (5), JULIE ANN ROMERO (17),

27   SCOTT JOSHUA VENNUM (20), RICHARD KEVIN RILEY (29), TARA JANE

28   BECKWITH (36), ROBERT ANTHONY BAKER (46), JAMES ALLEN THAEMERT (51),

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 1   CHRISTOPHER MARK PREVEDELLO (56), REBEKA ANNA BENEDICT (60), and

 2   TANYA NURRIA RESNICK (64) who are joined for trial with codefendants

 3   as to whom the time for trial has not run and no motion for severance

 4   has been granted.

 5        11.   Nothing in this stipulation shall preclude a finding that

 6   other provisions of the Speedy Trial Act dictate that additional time

 7   periods be excluded from the period within which trial must commence.

 8   Moreover, the same provisions and/or other provisions of the Speedy

 9   Trial Act may in the future authorize the exclusion of additional

10   time periods from the period within which trial must commence.

11        IT IS SO STIPULATED.

12    Dated: October 13, 2024             Respectfully submitted,

13                                        E. MARTIN ESTRADA
                                          United States Attorney
14
                                          DAVID T. RYAN
15                                        Assistant United States Attorney
                                          Chief, National Security Division
16

17                                              /s/
                                          REEMA M. EL-AMAMY
18                                        Assistant United States Attorney
19                                        Attorneys for Plaintiff
                                          UNITED STATES OF AMERICA
20

21

22
          I am CLAIRE PATRICIA HAVILAND’s attorney.         I have carefully
23
     discussed every part of this stipulation and the continuance of the
24
     trial date with my client. I have fully informed my client of her
25
     Speedy Trial rights.     To my knowledge, my client understands those
26
     rights and agrees to waive them.       I believe that my client’s decision
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 H F6C5H ;GH /:62<CH H 5-E2H 3D::GH 6<3=@;20H ;GH /:62<CH >3H 56BH (?220GH )@6-:H
 H   @645CBH   )>H ;GH 9<=F:2042H ;GH /:62<CH D<02@BC-<0BH C5=B2H @845CBH -<0H
 H -4@22BH C>H F-6E2H C52; H      H .2:62E2H C5-CH ;GH /:62<CBH 02/6B6><H C=H 46E2H D?H
 H   C52H @645CH C=H .2H .@=D45CH C=H C@6-:H 2-@:62@H C5-<H $>E2;.2@H H  H 6BH -<H
 H   6<3=@;20H -<1H E=:D<C-@GH =<2 H
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 H   ' (),H %&$$%'H                             -C2H
      CC>@<2GH 3>@H 232<0-<CH
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             H 5-E2H @2-0H C56BH BC6?D:-C6><H -<1H 5-E2H /-@23D::GH 06B/DBB20H 6CH
 H
      F6C5H ;GH -CC=@<2G H     H D<12@BC-<0H ;GH (?220GH )@6-:H @645CB H    H
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      E=:D<C-@6:GH -4@22H C>H C52H /><C6<D-</2H >3H C52H C@6-:H 0-C2H -<1H 46E2H D?H
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 1        I am MICHAEL VITANZA’s attorney.          I have carefully discussed

 2   every part of this stipulation and the continuance of the trial date

 3   with my client. I have fully informed my client of his Speedy Trial

 4   rights.   To my knowledge, my client understands those rights and

 5   agrees to waive them.       I believe that my client’s decision to give up

 6   the right to be brought to trial earlier than February 24, 2026 is an

 7   informed and voluntary one.

 8

 9   MICHAEL M. CRAIN                               Date
     Attorney for Defendant
10   MICHAEL VITANZA
11
          I have read this stipulation and have carefully discussed it
12
     with my attorney.        I understand my Speedy Trial rights.       I
13
     voluntarily agree to the continuance of the trial date, and give up
14
     my right to be brought to trial earlier than February 24, 2026.
15

16
     MICHAEL VITANZA                                Date
17   Defendant
18
          I am PAUL JOHN PICHIE’s attorney.          I have carefully discussed
19
     every part of this stipulation and the continuance of the trial date
20
     with my client. I have fully informed my client of his Speedy Trial
21
     rights.   To my knowledge, my client understands those rights and
22
     agrees to waive them.       I believe that my client’s decision to give up
23
     the right to be brought to trial earlier than February 24, 2026 is an
24
     informed
      nformed and voluntary
                  vol       one.
25
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26
     DAVID
      AVID R.
           R EVANS                                  Date
27   Attorney for Defendant
     PAUL JOHN PICHIE
28

                                            14
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 1
          I have read this stipulation and have carefully discussed it
 2
     with my attorney.        I understand my Speedy Trial rights.       I
 3
     voluntarily agree to the continuance of the trial date, and give up
 4
     my
      y right to be brought to trial earlier than February 24, 2026.
 5
                                                       
 6
     PAUL
      AUL JOHN PICHIE                               Date
 7   Defendant
      efendant
 8

 9

10
          I am GUY MANNING WILLS’s attorney.          I have carefully discussed
11
     every part of this stipulation and the continuance of the trial date
12
     with my client. I have fully informed my client of his Speedy Trial
13
     rights.   To my knowledge, my client understands those rights and
14
     agrees to waive them.       I believe that my client’s decision to give up
15
     the right to be brought to trial earlier than February 24, 2026 is an
16
     informed and voluntary one.
17

18
     JEREMY D. WARREN                               Date
19   Attorney for Defendant
     GUY MANNING WILLS
20

21        I have read this stipulation and have carefully discussed it
22   with my attorney.        I understand my Speedy Trial rights.       I
23   voluntarily agree to the continuance of the trial date, and give up
24   my right to be brought to trial earlier than February 24, 2026.
25

26   GUY MANNING WILLS                              Date
     Defendant
27

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 1   the right to be brought to trial earlier than February 24, 2026 is an

 2   informed and voluntary one.

 3
                                                           
 4   SCOTT
        TT ADAM
           AD
            DA
             AM
              M PACTOR                              Date
     Attorney for Defendant
 5   CHRISTOPHER CRAIG
 6
          I have read this stipulation and have carefully discussed it
 7
     with my attorney.        I understand my Speedy Trial rights.       I
 8
     voluntarily agree to the continuance of the trial date, and give up
 9
     my right to be brought to trial earlier than February 24, 2026.              I
10
     understand that I will be ordered to appear in Courtroom 9B of the
11
     Federal Courthouse, 350 W. 1st Street, Los Angeles, California on
12
     February
           ry 24, 2026 at 9:00 a.m.
13

14                                                         
     CHRISTOPHER CRAIG                              Date
15   Defendant
16

17
          I am GABRIELA IBARRA’s attorney.          I have carefully discussed
18
     every part of this stipulation and the continuance of the trial date
19
     with my client. I have fully informed my client of her Speedy Trial
20
     rights.   To my knowledge, my client understands those rights and
21
     agrees to waive them.       I believe that my client’s decision to give up
22
     the right to be brought to trial earlier than February 24, 2026 is an
23
     informed and voluntary one.
24

25
     SIMON M AVAL                                   Date
26   Attorney for Defendant
     GABRIELA IBARRA
27

28

                                            21
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 1   the right to be brought to trial earlier than November 25, 2024 is an

 2   informed and voluntary one.

 3

 4   SCOTT ADAM PACTOR                              Date
     Attorney for Defendant
 5   CHRISTOPHER CRAIG
 6
          I have read this stipulation and have carefully discussed it
 7
     with my attorney.        I understand my Speedy Trial rights.       I
 8
     voluntarily agree to the continuance of the trial date, and give up
 9
     my right to be brought to trial earlier than November 25, 2024.              I
10
     understand that I will be ordered to appear in Courtroom 9B of the
11
     Federal Courthouse, 350 W. 1st Street, Los Angeles, California on
12
     February 24, 2026 at 9:00 a.m.
13

14
     CHRISTOPHER CRAIG                              Date
15   Defendant
16

17
          I am GABRIELA IBARRA’s attorney.          I have carefully discussed
18
     every part of this stipulation and the continuance of the trial date
19
     with my client. I have fully informed my client of her Speedy Trial
20
     rights.   To my knowledge, my client understands those rights and
21
     agrees to waive them.       I believe that my client’s decision to give up
22
     the right to be brought to trial earlier than November 25, 2024 is an
23                                                  February 24, 2026
     informed and voluntary one.
24

25
     SIMON M AVAL                                   Date
26   Attorney for Defendant
     GABRIELA IBARRA
27

28
                                            20
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 1        I have read this stipulation and have carefully discussed it

 2   with my attorney.        I understand my Speedy Trial rights.       I

 3   voluntarily agree to the continuance of the trial date, and give up

 4   my right to be brought to trial earlier than November 25, 2024.
                                                  February 24, 2026
 5

 6   GABRIELA IBARRA                                Date
     Defendant
 7

 8        I am KEVIN D. FRANCIS’s attorney.          I have carefully discussed
 9   every part of this stipulation and the continuance of the trial date
10   with my client. I have fully informed my client of his Speedy Trial
11   rights.   To my knowledge, my client understands those rights and
12   agrees to waive them.       I believe that my client’s decision to give up
13   the right to be brought to trial earlier than November 25, 2024 is an
14   informed and voluntary one.
15

16   KRISTEN NICOLE RICHARDS                        Date
     Attorney for Defendant
17   KEVIN D. FRANCIS
18
          I have read this stipulation and have carefully discussed it
19
     with my attorney.        I understand my Speedy Trial rights.       I
20
     voluntarily agree to the continuance of the trial date, and give up
21
     my right to be brought to trial earlier than November 25, 2024.
22

23
     KEVIN D. FRANCIS                               Date
24   Defendant
25

26
          I am RICHARD KEVIN RILEY’s attorney.          I have carefully discussed
27
     every part of this stipulation and the continuance of the trial date
28
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